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                                    THE CHANCERY COURT                                     FILED
                                 DAVIDSON COUNTY, TENNESSEE
                                                                                          AUG 2 2 2018
                     HONORABLE ELLEN HOBBS LYLE, CHANCELLOR
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                             MARIAM. SALAS, CLERK AND MASTER

                                 ABU-ALI-ABDUR'RAHMAN, ET AL
                                         Plaintiffs/Appellants
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                                           August 21, 2018

   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                             CORRECTION, ET AL
                                         Defendants/Appellees



                                 Trial Transcript from July 17, 2018
                                          Pages 1829 - 1945


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Sample, Oscar Smith, Charles Walton Wright and Edmund Zagorski




  Case 3:18-cv-01234 Document 1-43 Filed 11/02/18 Page 1 of 3 PageID #: 1304
                                                                                  Attachment 42
             ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                       Transcript of Proceedings on 07/17/2018             Page 1937

   1     human dignity to give the condemned their
   2     first amendment right to speak until the end.
   3    And I don't know how to describe that.                      That
   4     is another yet act of suffering.                   Remove the
   5    Vecuronium Bromide.             But certainly, I think
   6     the number one is removing the paralytic and
   7     speeding up the process.
   8                      THE COURT:         And is this a bit of
   9    unusual use of the Glossip alternative?                      When
 10      they say the Glossip alternative, I guess
 11      conceptually excluding something is an
 12     alternative.         But from everything that I've
 13     read, Glossip, an alternative is something
 14     different.        It's not exclusion.               It's using a
 15     different drug or a different method.
 16                       MR. TENNENT:           I think we're
 17      looking at strictly is it feasible.
 18     Absolutely.         It's clearly feasible to have
 19      the other two drugs.             And they're readily
 20      available.       So taking those terms and turning
 21     them on their face.
 22                       THE COURT:          I'm not sure that the
 23     Defendants have had an opportunity to really
 24     process that as an alternative you have.
 25                       Are you prepared to speak to it

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                          -Washington, Filed 11/02/18
                                          - New        Page 2- of
                                                York- Houston  San3 Francisco
                                                                    PageID #: 1305
                                                                     Attachment 42
             ABU ALI ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                       Transcript of Proceedings on 07/17/2018              Page 1938

   1     or not?      I will let Mr. Tennent finish.                  Do
   2     we need more time or are you going to wrap it
   3     up today?
   4                      MR. SUTHERLAND:             I think we need
   5     more time.        Frankly, it sounds like to me
   6     that it's possible.             We would certainly need
   7     to talk to the Department.                 It sounds like to
   8     me it's certainly something we'd do.
   9                      THE COURT:          Okay.         Let's proceed
 10      then.     Anything else?           I've been asking you
 11      the question, because I want to make sure
 12      that I understand the function of this.                      So
 13      tell me anything else.               I'll stop
 14      interrupting so I will get the full benefit
 15      of your presentation on this.
 16                       MR. TENNENT:           Thank you, Your
 17     Honor.      Factually, I think we introduced
 18      evidence from Arizona to remove the
 19     paralytic.        That's evidence in the record.                    I
 20     believe among other places in the
 21      complaint -- under the alternative section,
 22     we allege that Vecuronium was unnecessary in
 23     the 302 and 303.            I'm not going to sit here
 24     and read all of the paragraphs.                      But we
 25     definitely alleged it in there to say it had

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                                       Filed    York- Houston
                                             11/02/18  Page 3- of
                                                               San3 Francisco
                                                                    PageID #: 1306
                                                                      Attachment 42
